     Case 3:14-cr-00025-HDM-VPC Document 112 Filed 10/16/20 Page 1 of 6


 1
                             UNITED STATES DISTRICT COURT
 2
                                        DISTRICT OF NEVADA
 3

 4    UNITED STATES OF AMERICA,                            Case No. 3:14-cr-00025-HDM-VPC
 5                                 Plaintiff,
            v.                                                             ORDER
 6
      LAWRENCE KOMINEK,
 7
                                   Defendant.
 8

 9          Defendant       Lawrence         Kominek         has    filed     a     motion     for

10    compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A). (ECF

11    No. 104 & 108). The government has opposed (ECF No. 110), and

12    Kominek has replied (ECF No. 111).

13          In   March     2014,       Kominek    was       charged    with   two    counts     of

14    distribution of a controlled substance. (ECF No. 9). Following a

15    three-day trial, a jury found Kominek guilty of both counts. (ECF

16    No. 49).

17          In February 2015, before he was to be sentenced, Kominek met

18    with authorities to advise of a threat by another inmate to blow

19    up the car of the AUSA who was prosecuting them both. Kominek

20    stated that he was sharing this information because he wanted to

21    make sure he would not be blamed if anything happened to the AUSA,

22    and   because   he    was    hoping        to       receive   favorable      treatment    at

23    sentencing,     such        as     a    downward         departure.         Upon   further

24    questioning,    Kominek          admitted       that    in    fact   discussions       about

25    blowing up the AUSA’s car and other targets had been ongoing

26    between him and the inmate for more than eight months. But, Kominek

27    stated, he had no intention of blowing up the AUSA’s car and the

28    discussions were just idle talk, at least on his part.


                                                      1
     Case 3:14-cr-00025-HDM-VPC Document 112 Filed 10/16/20 Page 2 of 6


 1         At sentencing, the court concluded that Kominek’s conduct,

 2    which encompassed detailed discussions about how to blow up the

 3    AUSA’s car over a period of eight months with the intent of sending

 4    a   message   to   the   AUSA   to   influence   prosecution,    justified

 5    application of the obstruction of justice enhancement.           The court

 6    accordingly    sentenced   Kominek    to   151   months   on   each   count,

 7    concurrent, followed by a five-year term of supervised release. On

 8    appeal, the Ninth Circuit affirmed the court’s application of the

 9    obstruction of justice enhancement.

10          Having served just more than half of his 151-month sentence,1

11    Kominek now seeks early release from confinement pursuant to the

12    provisions of 18 U.S.C. § 3582(c)(1)(A).

13    I. Standard

14         18 U.S.C. § 3582(c)(1)(A) provides in relevant part:

15         [T]he court, . . . upon motion of the defendant after
           the defendant has fully exhausted all administrative
16         rights to appeal a failure of the Bureau of Prisons to
           bring a motion on the defendant’s behalf or the lapse of
17         30 days from the receipt of such a request by the warden
           of the defendant’s facility, whichever is earlier, may
18         reduce the term of imprisonment (and may impose a term
           of probation or supervised release with or without
19         conditions that does not exceed the unserved portion of
           the original term of imprisonment), after considering
20         the factors set forth in section 3553(a) to the extent
           that they are applicable, if it finds that--
21
           (i) extraordinary and compelling reasons warrant such a
22         reduction;
23         . . .
24         and that such a reduction is consistent with applicable
           policy statements issued by the Sentencing Commission. 2
25

26    1 Kominek’s current projected release date is December 14, 2024. See
      https://www.bop.gov/inmateloc/ (last accessed Oct. 7, 2020).
27
      2 In addition to “extraordinary and compelling reasons,” the court may
28    grant a motion if “the defendant is at least 70 years of age, has served

                                            2
     Case 3:14-cr-00025-HDM-VPC Document 112 Filed 10/16/20 Page 3 of 6


 1    U.S.S.G. § 1B1.13 provides:
 2         Upon motion of the Director of the Bureau of Prisons
           under 18 U.S.C. § 3582(c)(1)(A), the court may reduce a
 3         term of imprisonment (and may impose a term of supervised
           release with or without conditions that does not exceed
 4         the   unserved   portion   of  the   original   term   of
           imprisonment) if, after considering the factors set
 5         forth in 18 U.S.C. § 3553(a), to the extent that they
           are applicable, the court determines that—
 6
                (1)(A) extraordinary and compelling reasons warrant
 7         the reduction;

 8               . . .

 9              (2) the defendant is not a danger to the safety of
           any other person or to the community, as provided in 18
10         U.S.C. § 3142(g); and

11              (3) the reduction is consistent with this policy
           statement.
12
      U.S.S.G. § 1B1.13.
13
           The defendant is not entitled to be present for a hearing on
14
      a motion for compassionate release. See Fed. R. Crim. P. 43(b)(4).
15
      II. Analysis
16
           Kominek seeks release pursuant to § 3582(c)(1)(A) due to the
17
      COVID-19 epidemic and his underlying health conditions, including
18
      degenerative heart disease and heart attack, which put him at a
19
      greater risk of severe COVID-19 outcomes should he contract the
20
      virus. The government opposes, arguing that although Kominek’s
21
      health conditions put him at a greater risk of complications if he
22
      contracts COVID-19, his motion should nevertheless be denied as he
23

24    at least 30 years in prison, pursuant to a sentence imposed under section
      3559(c), for the offense or offenses for which the defendant is currently
25    imprisoned, and a determination has been made by the Director of the
      Bureau of Prisons that the defendant is not a danger to the safety of
26    any other person or the community, as provided under section 3142(g).”
      18 U.S.C. § 3582(c)(1)(A)(ii). Because Kominek is not over 70 years of
27    age and has not served more than thirty years in prison, this provision
      does not apply.
28


                                           3
     Case 3:14-cr-00025-HDM-VPC Document 112 Filed 10/16/20 Page 4 of 6


 1    is a danger to the community and because COVID-19 has not spread

 2    widely in his institution.

 3         A. Exhaustion

 4         Before a defendant may file a § 3582(c)(1)(A) motion, he must

 5    either (1) exhaust any administrative appeals of the warden’s

 6    refusal to bring a motion or (2) wait thirty days from the warden’s

 7    receipt of the request, whichever is earlier. Kominek’s request

 8    for compassionate release was received by the warden on August 3,

 9    2020. (ECF No. 104 at 11-17). More than thirty days have elapsed

10    from the date the warden received Kominek’s request, so the motion

11    is exhausted.

12         B. Extraordinary and Compelling Reasons

13         Section 1B1.13 sets forth specific examples of “extraordinary

14    and compelling reasons,” including in relevant part that the

15    defendant   is   “suffering     from    a    serious        physical   or   medical

16    condition . . . that substantially diminishes the ability of the

17    defendant   to   provide     self-care       within    the       environment     of   a

18    correctional facility and from which he or she is not expected to

19    recover.” U.S.S.G. § 1B1.13 app. n.(1)(A)(ii)(I). There is also a

20    catch-all     provision,     which   provides:        “As    determined     by    the

21    Director of the Bureau of Prisons, there exists in the defendant’s

22    case an extraordinary and compelling reason other than, or in

23    combination    with,   the    reasons       described       in   subdivisions     (A)

24    through (C).” Id. app. n.(1)(D).

25         Kominek is 57 years old and has heart disease and a history

26    of heart attack. He is presently incarcerated at FCI Sheridan.

27    Kominek argues that his medical conditions increase his risk of

28    severe COVID-19 complications and that it is difficult in his


                                              4
     Case 3:14-cr-00025-HDM-VPC Document 112 Filed 10/16/20 Page 5 of 6


 1    institution to practice the social distancing necessary to reduce

 2    the risk of contracting COVID-19. The government does not dispute

 3    that Kominek’s underlying health conditions put him at greater

 4    risk of COVID-19 complications in the event he contracts the virus

 5    but it points out that COVID-19 has not spread widely at Kominek’s

 6    institution.

 7         Notwithstanding Kominek’s underlying health conditions, the

 8    court is not persuaded that extraordinary and compelling reasons

 9    exist here where his institution has not, and is not, enduring a

10    significant spread of COVID-19. There are currently no active cases

11    of COVID-19 at FCI Sheridan. In total, there have been eight

12    positive test results out of more than 500 conducted; there are 9

13    test results pending. See        https://www.bop.gov/coronavirus/ (last

14    accessed   Oct.   13,   2020).   These    low   numbers   suggest   that   the

15    measures taken by BOP to combat coronavirus spread are working at

16    Sheridan. Under these circumstances, the court does not find

17    extraordinary and compelling reasons for early release.

18         C. 18 U.S.C. § 3553(a) Factors

19         In addition, the court may grant compassionate release only

20    if the defendant is not a danger to any other person or to the

21    community, as provided in 18 U.S.C. § 3142(g), United States v.

22    Johnson, 2020 WL 2114357, at *1 (E.D. Wash. May 4, 2020) (“[T]he

23    Court should not grant a sentence reduction if the defendant poses

24    a risk of danger to the community, as defined in the Bail Reform

25    Act.”), and the relevant 18 U.S.C. § 3553(a) factors favor release.

26    Here, the court is not persuaded that Kominek is not a danger to

27    the community or that the § 3553(a) factors support his early

28    release.


                                            5
     Case 3:14-cr-00025-HDM-VPC Document 112 Filed 10/16/20 Page 6 of 6


 1          The   government    argues   that      Kominek   is   a   danger    to   the

 2    community because he trafficked in methamphetamine, a scourge to

 3    the community, and participated in a threat to blow up the AUSA’s

 4    car. Kominek responds that there is no indication he intended to

 5    carry out the threat against the AUSA, he has a limited criminal

 6    history, and there is no indication he possessed a weapon in

 7    connection with the underlying offense.

 8          Given Kominek’s extensive participation in discussions to

 9    blow up the AUSA’s care – a distinctly violent threat – and his

10    decision to come forward in order to deflect blame if anything

11    were to happen and to obtain a sentencing advantage, the court is

12    not convinced that Kominek is not a danger to the community.

13    Further, the nature and circumstances of his offense were serious

14    and Kominek has served only about half of his sentence, which the

15    court believes is not sufficient to reflect the seriousness of the

16    offense, promote respect for the law, provide just punishment for

17    the   offense,   afford    adequate     deterrence     to   criminal     conduct,

18    protect the public from further crimes of the defendant, and avoid

19    unwarranted sentencing disparities. The § 3553(a) factors support

20    Kominek serving the sentence that was originally imposed.

21    III. Conclusion

22          In    accordance    with   the    foregoing,     Kominek’s   motion      for

23    compassionate release (ECF No. 104 & 108) is hereby DENIED.

24          IT IS SO ORDERED.

25          DATED: This 16th day of October, 2020.
26

27                                           ____________________________
                                             UNITED STATES DISTRICT JUDGE
28


                                               6
